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Attorneys for U.S. Bank Trust


                                 UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF OREGON


In re:                                             Case No. 15-32496-pcm13

DANIEL ROBERT HOUSE AND                            Chapter 13
PATRICIA ELOISE HOUSE,
                                                   MOTION FOR ORDER AUTHORIZING
                                                   DEBTORS TO ENTER INTO LOAN
                               Debtor(s).          MODIFICATION AGREEMENT




         The Movant, U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust, and
its successors and/or assigns hereby files this Motion for Order Authorizing Debtor to Enter Into
Loan Modification Agreement.
         The motion may be inspected at the clerk’s office at the address shown below, or at
the service address of the undersigned below.
         YOU ARE NOTIFIED that unless you file an objection to this notice no later than 21
days after the service date, and set forth the specific grounds for the objection and your relation
to the case with the clerk of the court, 1001 SE 5th Avenue, Portland OR and serve it on Nathan
Smith, 2112 Business Center Drive, Irvine CA 92612, the undersigned will proceed to take the




Motion for Order Authorizing                                LAW OFFICES OF MALCOLM ♦ CISNEROS
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proposed action, or apply for an order if required, without further notice or a hearing.

DATED: April 8, 2016
                                      Respectfully Submitted,

                                      /s/ Nathan F. Smith
                                      NATHAN F. SMITH, OSB# 120112
                                      Attorneys for U.S. Bank Trust,




Motion for Order Authorizing                                LAW OFFICES OF MALCOLM ♦ CISNEROS
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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on April 8, 2016, I served a true and correct copy of the
foregoing MOTION FOR ORDER AUTHORIZING DEBTOR TO ENTER INTO LOAN
MODIFICATION AGREEMENT by depositing a copy via United States Mail at Irvine,
California, postage fully prepaid, addressed to:



                                SEE ATTACHED SERVICE LIST




                                                   /s/ Erica F. Pedraza
                                                   Erica F. Pedraza
 




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       MOTION FOR ORDER AUTHORIZING DEBTOR TO ENTER INTO LOAN
                                MODIFICATION AGREEMENT
         The Movant, U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust, and
its successors and/or assigns (“Movant”), hereby moves this Court for an Order Authorizing
Approval of a Loan Modification Agreement with Daniel Robert House and Patricia Eloise
House (“Debtor”). The Loan Modification Proposal, attached hereto as Exhibit “1,” if accepted
and finalized shall amend and supplement the Note, secured by a first Deed of Trust (collectively
the “Loan”), which encumbers real property commonly known as 11138 NE Shaver, Portland
OR 97220 (“Property”). The loan modification provides for a lower interest rate and the
capitalization of arrears into a modified principal balance. The Loan Modification Proposal
should be referenced for the controlling terms.
         Movant respectfully requests the Court’s approval to enter into a Loan Modification
Agreement and modify the Loan accordingly.
         WHEREFORE, Movant prays that the Court grant relief authorizing parties to enter into
a loan modification.
 
DATED: April 8, 2016
                                      Respectfully Submitted,

                                      /s/ Nathan F. Smith,
                                      NATHAN F. SMITH, OSB# 120112
                                      Attorneys for U.S. Bank Trust




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                                       SERVICE LIST

DEBTOR(S)                                      Caliber Home Loans, Inc.
Daniel Robert House                            PO Box 24610
Patricia Eloise House                          Oklahoma City, OK 73124
11138 NE Shaver St.
Portland, OR 97220                             Capital One Bank
                                               15000 Capital One Dr.
DEBTOR(S) ATTORNEY                             Richmond, VA 23238
Nicholas J Henderson
Troy Sexton                                    Discover Bank
Motschenbacher & Blattner, LLP                 PO Box 15316
117 SW Taylor Street, Ste. 300                 Wilmington, DE 19850-5316
Portland, OR 97204
                                               Discovery Financial Services
CHAPTER 13 TRUSTEE                             9707 NE 54th St. Suite A
Wayne Godare                                   Vancouver, WA 98662
222 SW Columbia St #1700
Portland, OR 97201                             GM Financial
                                               PO Box 181145
CREDITORS:                                     Arlington, TX 76096
Clearspring Loan Services, Inc
18451 North Dallas Parkway Suite 100           IRS
Dallas, TX 75287                               PO Box 7346
                                               Philadelphia, PA 19101-7346
Afni, Inc.
PO Box 3097                                    Midland Credit Management,Inc
Bloomington, IL 61702                          as agent for Midland Funding LLC
                                               PO Box 2011
American InfoSource LP as agent for            Warren, MI 48090
DIRECTV, LLC
PO Box 51178                                   ODR Bkcy
Los Angeles, CA 90051-5478                     955 Center St NE
                                               Salem OR 97301-2555
AmeriCredit Financial Services, Inc. dba
GM Financ                                      Proactive Gresham
P O Box 183853                                 9707 NE 54th Street, Suite A
Arlington, TX 76096                            Vancouver, WA 98662

AT&T Wireless                                  Real Time Resolutions, Inc.
PO Box 30459                                   1349 Empire Central Drive, Suite #150
Los Angeles, CA 90030                          Dallas, Texas 75247-4029

Bank of America                                Santander Bank NA
PO Box 982235                                  865 Brook St.
El Paso, TX 79998                              Rocky Hill, CT 06067




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TD Bank USA/Target Credit
PO Box 673
Minneapolis, MN 55440

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Caliber Home Loans, Inc.
13801 Wireless Way
Oklahoma City, OK 73134

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PO Box 5607
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PO Box 7202
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US Dept of Education
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US Dept of Education
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